                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

MARSHALL AMPLIFICATION PLC,
                                          Case No. 20-cv-07529
          Plaintiff,

v.                                        Judge Joan B. Gottschall

THE PARTNERSHIPS AND                      Magistrate Judge Susan E. Cox
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

          Defendants.


                        Declaration of Justin R. Gaudio
                          DECLARATION OF JUSTIN R. GAUDIO

   I, Justin R. Gaudio, of the City of Chicago, in the State of Illinois, declare as follows:

1. I am an attorney at law, duly admitted to practice before the Courts of the State of Illinois and

   the United States District Court for the Northern District of Illinois. I am one of the attorneys

   for Plaintiff Marshall Amplification PLC (“Plaintiff” or “Marshall”). Except as otherwise

   expressly stated to the contrary, I have personal knowledge of the following facts and, if called

   as a witness, I could and would competently testify as follows:

2. Off-shore e-commerce store operators offering for sale products using counterfeit trademarks

   typically: (1) provide false, misleading and/or incomplete and physical address information to

   conceal their locations and avoid liability for their unlawful conduct; and (2) rely primarily on

   electronic communications to communicate with their third-party service providers and

   customers. In my over ten years of experience in anti-counterfeiting investigations, even if a

   purported address is provided on an e-commerce store, it is unlikely to be legitimate. E-mail

   has proved to be a reliable mechanism for quickly providing notice to e-commerce store

   operators in similar cases. Indeed, thousands of defendants in cases I have overseen have

   confirmed receipt of actual notice via e-mail.

3. An investigation of the e-commerce stores operating under the Seller Aliases identified in

   Schedule A to the Complaint shows that few, if any, provide a physical address on the e-

   commerce store. In most instances, Defendants must provide an e-mail address and physical

   address to third-party online marketplace platforms such as eBay, AliExpress, Alibaba,

   Amazon, Wish.com, and Dhgate when registering their account. However, unlike an e-mail

   address, which is typically verified by the third-party online marketplace platforms, no

   verification typically occurs for physical addresses. Since an e-commerce store operator can



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   input any physical address, such addresses are usually false and/or are not where the e-

   commerce store operator is located. As such, even if a physical address is available, it is not a

   reliable means for identifying and locating Defendants.

4. Since and pursuant to entry of the Temporary Restraining Order [20], financial accounts

   associated with the Seller Aliases have been frozen and third parties have provided mailing

   addresses for Defendants.

5. I, or someone under my direction, investigated each of the addresses provided by third-party

   online marketplace platforms, and determined that the addresses either could not be located,

   or there was no identifiable business located at that address. Specifically, a search for each of

   the addresses provided was run through Google and Google Maps.

6. I have reviewed the Hague Convention on the Service Abroad of Judicial and Extra-Judicial

   Documents in Civil and Commercial Matters (“Hague Convention”) to which China is a

   signatory.   The Hague Convention does not preclude service by e-mail.             Additionally,

   according to Article 1 of the Hague Convention, the “convention shall not apply where the

   address of the person to be served with the document is not known.” A true and correct copy

   of the Hague Convention on the Service Abroad of Judicial and Extra-Judicial Documents in

   Civil and Commercial Matters, and a list of signatory members, are collectively attached hereto

   as Exhibit 1.

7. Exhibit 2 attached hereto is a true and correct copy of the unpublished decisions cited in

   Plaintiff’s Memorandum in Support of its Motion for Electronic Service of Process Pursuant

   to Fed. R. Civ. P. 4(f)(3).




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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on this the 14th day of January 2021 at Chicago, Illinois.


                                             /Justin R. Gaudio/
                                             Justin R. Gaudio
                                             Counsel for Plaintiff Marshall Amplification PLC




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